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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 JOHN DOE,
                Plaintiff
        v.                                           Civil Action No: 1:19-cv-11626-DPW
                                                     *SEALED*
 TRUSTEES OF BOSTON COLLEGE,
                Defendant


                DEFENDANT'S OPPOSITION TO PLAINTIFF'S MOTION
                    FOR A TEMPORARY RESTRAINING ORDER

       Defendant Trustees of Boston College ("BC") submits this opposition to Plaintiff's

Motion for a Temporary Restraining Oder and a Preliminary Injunction and Request for

Expedited Consideration.

                                            ARGUMENT

I.     DOE SEEKS MANDATORY RELIEF, WHICH IS STRONGLY DISFAVORED.

       Preliminary injunctive relief typically is allowed only to preserve the status quo, i.e., to

enjoin the non-moving party from taking some action. See Braintree Lab's, Inc. v. Citigroup

Glob. Markets Inc., 622 F.3d 36, 41 (1st Cir. 2010); Bercovitch v. Baldwin School, Inc., 133 F.3d

141, 151 (1st Cir. 1998); Keogh v. Field & Sons HVAC, Inc., No. CV 12-10203-MLW, 2012 WL

12884870, at *1 (D. Mass. June 25, 2012). Mandatory injunctions, which alter the status quo,

are disfavored. See L.L. Bean, Inc. v. Bank of Am., 630 F. Supp. 2d 83, 89 (D. Me. 2009)

(collecting cases); see also Lu v. Hulme, No. CA 12-11117-MLW, 2013 WL 1331028, at *10 (D.

Mass. Mar. 30, 2013). A party seeking mandatory injunctive relief must meet an "elevated"

burden, demonstrating that "the exigencies of the situation demand such relief." Braintree Labs.,

662 F.3d at 41; see also Mass. Coal. of Citizens with Disabilities v. Civil Defense Agency, 649

F.2d 71, 76 n.7 (1st Cir. 1981)); NBA Properties, Inc. v. Gold, 895 F.2d 30, 33 (1st Cir. 1990). A


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"mandatory injunction should not issue unless the facts and the law clearly favor the moving

party." Robinson v. Wall, C.A. 09-277-S, 2013 WL 4039027, at *2 (D.R.I. Aug. 7, 2013); see

also Strahan v. Roughead, 08-CV-10919-MLW, 2010 WL 4827880, at *10 (D. Mass. Nov. 22,

2010); L.L. Bean, 630 F. Supp. 2d at 89.

        The status quo is that Doe was found responsible for sexual misconduct and sanctioned

with a suspension for one year. Doe appealed, challenging the finding of responsibility. It was

at that point, after the finding had been made and the sanction decided, that the "dispute"

between the parties arose. The appeal was denied. Thus, all of the relief that Doe seeks is

mandatory injunctive relief, which would alter the status quo. Doe does not seek to enjoin BC

from finding him responsible or from suspending him, which already have occurred. Instead he

seeks to force BC to take affirmative action — essentially vacating the suspension, allowing him

to return to classes and                    , until this case is decided on the merits. There are no

special "exigencies" that favor the granting of such extraordinary relief, nor does "the law clearly

favor the moving party," for the reasons that follow.

II.    DOE HAS NOT DEMONSTRATED A LIKELIHOOD OF SUCCESS ON THE
       MERITS.

       A.      Doe is Not Likely to Succeed on His Contract Claim.

       A college has a contractual obligation to substantially follow its conduct policies and

procedures as it would reasonably expect a student to understand them; to conduct its procedures

with "basic fairness," which means providing the student with notice of the charge against him

and a meaningful opportunity to respond; and to reach a decision that has some rational basis,

i.e., one that is not arbitrary and capricious. See Walker v. Pres. & Fellows of Harvard Coll., 840

F.3d 57, 62 (1st Cir. 2016); Cloud v. Trs. of Bos. Univ., 720 F.2d 721, 724 (1st Cir. 1983);

Schaer v. Brandeis Univ., 432 Mass. 474, 478, 735 N.E.2d 373, 378 (2000); Coveney v. Pres. &
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Trs. of Holy Cross Coll., 388 Mass. 16, 19, 445 N.E.2d 136, 138-39 (1983); see also Doe v. Trs.

of Bos. Coll., 892 F.3d at 88 (obligation of fundamental fairness in student conduct proceedings

is defined by the parties' contractual relationship). Where, as in this case, the disciplinary

process meets that test, the outcome is not subject to judicial challenge.

        Doe alleges that BC breached its contract with him and the implied covenant of good

faith and fair dealing, and denied him a fair process because: (1) he did not receive proper notice

of the charges; (2) he was unable to conduct live cross examination of his accuser or the

witnesses; (3) he did not have an opportunity to access all the evidence until after his interviews;

(4) he did not have an effective appeal; (5) BC failed to have an independent process by

combining the roles of investigator and adjudicator; (6) the investigation was not thorough or

impartial; (7) the investigators applied the incorrect standard of review; (8) BC allowed Roe to

violate confidentiality; (9) BC breached its obligation to presume Doe was innocent; and (10) BC

failed to complete the investigation within 60 days. None of these allegations support a claim for

breach of contract, violation of basic fairness, or breach of the covenant of good faith and fair

dealing.

       The Court's review is limited to BC's compliance with its policies; it does not second-

guess them. Relying on Doe v. Brandeis, 177 F. Supp. 3d 561, 601 (D. Mass. 2016), Doe

couches some of his contract claims as violations of basic fairness. Pl. Mem at 19. Doe argues

that the obligation to provide "basic fairness" invites judicial consideration of whether BC's

policies, as implemented, afforded Doe both "procedural fairness" and "substantive fairness."

That is not correct. Two years after the District Court's decision in Brandeis, the First Circuit

ruled that where, as in this case, a university's procedures contain an explicit promise of

"fundamental fairness," any implied promise of "basic fairness . . . becomes superfluous and the



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court's [determination whether] the disciplinary proceedings were 'conducted with basic

fairness'. . . focuses on assuring compliance with the express contractual promise." Doe v. Trs. of

Bos. Coll., 892 F.3d 67, 88 (1st Cir. 2018). Thus, the university's obligation to provide "due

process and fundamental fairness" is satisfied as long as the university complies with its

procedures and those procedures afford the student notice of the charges against him, the

opportunity to present evidence including witnesses in his defense, and the opportunity to be

advised by counsel during the process — giving no regard to arguments that different or

additional procedures were needed to afford "basic fairness." See id. at 83, 88.1

                   1.       Doe was not entitled to cross-examine Roe.

         BC's Sexual Misconduct Policy does not provide for the cross-examination of accusers.

Pl. Ex. A. Moreover, private colleges such as BC are not required to provide constitutional due

process prior to imposing student discipline. See Bleiler v. Coll. of Holy Cross, No. 11—CV-

11541—DJC, 2013 WL 4714340, at *4 (D. Mass. Aug. 26, 2013); Yu v. Vassar Coll., 97 F. Supp.

3d 448, 462 (S.D.N.Y. 2015) see also Schaer v. Brandeis Univ., 432 Mass. 474, 482, 735 N.E.2d

373, 381 (2000); Coveney v. Pres. & Trs. of Coll. of Holy Cross, 388 Mass. 16, 21, 445 N.E.2d

136, 140 (1983). The First Circuit has held that even a public institution, to which due process

principles do apply, need not conduct a hearing which involves the right to confront or cross-

examine witnesses. Gorman v. Univ. of R.I., 837 F.2d 7, 16 (1st Cir. 1988); see also Haidak v.

Univ. of Mass. at Amherst, 299 F. Supp. 3d 242 (D. Mass. 2018).

         Doe's reliance on cases from the Sixth Circuit is misplaced. Those cases are grounded in

principles of constitutional due process applicable to public institutions, not private institutions



  Thus, for example, the First Circuit in Boston College summarily rejected the student's argument that a Hearing
Board lacked "investigatory training," because the university's policies did not require it, id. at 82, as well as the
student's claim that the hearing date was unfair, because "the Student Guide's language [about the scheduling of
hearings] is dispositive." Id.

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such as BC. See Doe v. Belmont Univ., 334 F. Supp. 3d 877, 894 (M.D. Tenn. 2018); accord

Z.J. v. Vanderbilt Univ., 355 F. Supp. 3d 646, 698 (M.D. Tenn. 2018) appeal dismissed, No. 19-

5061, 2019 WL 3202209 (6th Cir. Apr. 26, 2019); Yu, 97 F. Supp. 3d at 462.

       Doe's reliance on Doe v. Brandeis, supra, is also misplaced. Doe's argument that the

Court in Brandeis deemed the single-investigator model "unfair" fails in light of Boston College,

for the reasons set forth above, and Brandeis is easily distinguished in any event. The Court in

Brandeis did not rule that a single-investigator model is unfair per se; rather, it found that having

a single investigator was one factor to consider in evaluating the plaintiffs basic fairness claim,

which also rested on allegations that the plaintiff had insufficient notice of the numerous

allegations against him, was prevented from providing witnesses and evidence in his defense,

and was denied the assistance of an attorney. None of those essential facts is present here.

       The process that Doe was afforded provided him with a fair substitute for cross-

examination in any event. Doe was afforded several long interviews with the investigator, which

allowed him to tell his side of the story and respond to the allegations of the complainant. Prior

to the investigator's finding of responsibility, Doe was provided with all of the evidence,

including summaries of the witness interviews. With the assistance of counsel, Doe was able to

comment on the evidence and point to any inconsistences or gaps in the evidence that he

perceived. This also gave him the opportunity to propose additional questions or areas of inquiry

for the investigators to pursue. That the investigators did not deem additional information

material to the outcome, or did not give any additional information the weight Doe would have

preferred, is not actionable. See Doe v. Univ. of Dayton, 766 F. App'x 275, 288 (6th Cir. 2019);

Haidak v. Univ. of Mass. at Amherst, 299 F. Supp. 3d at 266 (hearing panel asked some but not

all questions the respondent submitted).



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               2.      BC provided adequate notice to Doe.

       Doe argues that he was not provided with adequate notice of the charges against him. Pl.

Mem at 20. He claims that the notice failed to include specific allegations sufficient for him to

defend himself because it focused on Roe's intoxication and potential incapacitation. Id. The

actual notice undercuts his claim completely. It provides the details of the allegation — that Doe

engaged in "non-consensual sexual contact through kissing and touching of intimate body parts

and penetrating [Roe's] vagina with [his] penis without [Roe's] consent while [she] was

incapacitated. . . ." Pl. Ex. C. The notice informed Doe that the allegation was that his sexual

contact with Roe was not consensual; it was not limited to the allegation that consent was absent

solely because Roe allegedly was incapacitated. As correctly noted in the appeal decision, the

notice "did not say that [incapacitation] was the only possible basis for a finding"; the notice

letter said "that [Doe] allegedly engaged in sexual contact 'without her consent while [Roe] was

incapacitated' (emphasis added), not that [Doe] engaged in sexual contact 'without her consent

because [Roe] was incapacitated." Pl. Ex. G. Thus, Doe's argument that he lacked reasonable

notice is without merit.

       Doe's notice argument also fails because he identifies no different or additional evidence

he would have offered if the notice stated more explicitly that incapacitation was not the only

aspect of "consent" that would be considered. To the contrary, even if incapacitation were the

only issue, Doe had every reason to provide the investigator a complete account of his encounter

with Roe, and he does not claim that he did otherwise.

               3.      Doe was not entitled to review the evidence until it was assembled.

       Doe argues that BC breached its obligation of fairness because he was not permitted to

review the evidence until it was all assembled. Pl. Mem. at 23. Doe points to no requirement in



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BC's policies or in law that a university provide copies of transcripts and evidence prior to

conducting interviews or contemporaneously as the evidence is gathered. Doe was provided

access to all the evidence prior to any findings being made and prior to the investigator's

preparation of the report, and he was allowed to provide comments and additional evidence after

reviewing the evidence. As noted in the investigation report, Doe's attorney also was provided

with a copy of the evidence and an extension of time to review it, and counsel was able to assist

Doe in formulating his response. Exhibit A, Report at 8-9. BC's process was entirely fair and

consistent with its policy.

                4.     Doe was provided an effective appeal.

        Doe argues that he was unfairly prohibited from appealing on the basis that the

investigators' decision was not supported by the evidence or was otherwise unfair, unwise, or

simply wrong. Pl. Mem. at 24 (citing Doe v. Brandeis Univ., 177 F. Supp. 3d at 607). Doe

correctly notes that the College allows appeals only on the basis of material procedural error and

new evidence not available at the time of the original decision. Id. In fact, universities need not

provide any right to appeal a student disciplinary decision. Winnick v. Manning, 460 F.2d 545,

549 n.5 (2d Cir. 1972); Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d 6, 14 (D. Me. 2005). It

follows that when universities provide for an appeal, they can limit the grounds for appeal, and

that where a university expressly limits an appeal to procedural grounds, a student has no

expectation of a review of the merits of the case. See Gomes, 365 F. Supp. 2d at 33; see also

Doe v. Trs. of Bos. Coll., 892 F.3d at 88 (in analyzing the fairness of student disciplinary

proceedings, the court limits it focus to compliance with the express contractual promises).

       The Brandeis case on which Doe relies is distinguishable and has not been cited by the

First Circuit. The plaintiff in that case could appeal only on the basis of procedural error, which



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was one factor among many the Court considered in determining that the plaintiff had been

denied a fair process, including the facts that, unlike here, the plaintiff was prevented from

providing witnesses and evidence, he was denied the assistance of an attorney, and he was not

provided any details of the numerous allegations against him. 177 F. Supp. 3d at 607.

                5.      BC properly applied the investigator model.

        Doe argues that BC's single investigator model was unfair and failed to provide him with

an independent process. This, like Doe's other fairness arguments, should be rejected under

Boston College, as a claim not based on the terms of the policy. BC, in its discretion, adopted

the single investigator model, and it is not for the students or the Courts to second guess that

decision and impose different procedures on the College. See Havlik v. Johnson & Wales Univ.,

509 F.3d 25, 35 (1st Cir. 2007) (a private university's handling of student discipline is entitled to

considerable deference). Moreover, combining investigative and adjudicative functions in a

single person does not violate any principle of due process or basic fairness. See Withrow v.

Larkin, 421 U.S. 35, 47-55 (1975); accord Pathak v. Dep't of Veterans Affairs, 274 F.3d 28, 33

(1st Cir. 2001); see also Doe v. Miami Univ., 882 F.3d 579, 601 (6th Cir. 2018).

                6.      Doe's investigation was thorough and impartial.

        Doe argues that BC's investigation was not thorough or impartial. Pl. Mem. at 13. His

argument is based on his disagreements with the way the investigators viewed the evidence and

made assessments of credibility. The fact that the investigators made credibility assessments

different from what Doe would have preferred, or different from what another reviewer — or the

Court — might have made, is of course irrelevant. Such credibility determinations are not for the

Court to second-guess. See Doe v. Phillips Exeter Acad., 2016 WL 6651310, *2 (D.N.H. Nov.

10, 2016) (It is not the court's role to "review of the investigator's factual findings and



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conclusions."); Doe v. Univ. of Dayton, 766 F. App'x at 288 (investigator not required to draw

respondent's preferred conclusions from the evidence); see also Doe v. Brown Univ., 210 F.

Supp. 3d 310, 313 (D.R.I. 2016); Doe v. Univ. of the South, 687 F. Supp. 2d 744, 755 (E.D.

Tenn. 2009); Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d at 14; Morale v. Grigel, 422 F.

Supp. 988, 1004-1005 (D.N.H. 1976); Schaer, 432 Mass. at 479 n.9, 735 N.E.2d at 379; cf. Doe

v. Univ. of Denver, No. 16-CV-00152-PAB-KMT, 2018 WL 1304530, at *11 (D. Colo. Mar. 13,

2018); Yu, 97 F. Supp. 3d at 462. And in fact, as the investigation report shows, there was ample

evidence — which did not turn solely on Roe's credibility — that Doe did not obtain unambiguous

consent to engage in sexual intercourse with her. Thus, it was entirely within the investigators'

discretion to determine that the alleged inconsistences Doe pointed to did not compel a different

result. Doe also argues that the appellate officer was not thorough when she failed to require the

investigators to re-interview a witness. Pl. Mem. at 13. As the appellate officer correctly noted,

Doe failed to identify what evidence of consent the witness would provide and the witness failed

to provide the information when he was interviewed.

       Simply put, Doe has provided no facts to support his conclusory allegation that the

investigation was not impartial. Such allegations are insufficient to overcome the presumption of

honesty and integrity of university decision makers. See Doe v. Trs. of Bos. Coll., 892 F.3d at 84;

see also Pathak, 274 F.3d at 33 (citing Withrow, 421 U.S. at 47).

               7.     The investigators applied the correct standard of review.

       Doe argues that the investigators failed to apply the preponderance of the evidence

standard. Pl. Mem at 14. Again, this allegation is based on Doe's disagreements with the way

the investigators viewed the evidence and made assessments of credibility, and is not the basis

for a breach of contract claim. Moreover, Doe's claim rests on his own account of the events at



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issue and fails to take into consideration that Roe had a different account of what happened, and

that the investigators did not credit many of the details Doe alleges. Doe's arguments also fail to

take into account the strict definition of Consent in the Sexual Misconduct Policy. It is clear

under the policy that Roe consenting to taking her shorts off did not amount to consent to

penetrate her with his penis.

               8.       BC did not violate any obligation of confidentiality.

       Doe alleges that BC approved of Roe's violation of confidentiality when she reported to

the                  that one of                  had had sex with her without her consent. Pl.

Mem. at 16. Doe admits that at the time she did this, Roe had not yet made a formal complaint.

Section 5 of the Student Guide requires confidentiality of "all parties, including the respondent,

complainant, witnesses, advisers, and the hearing officer." Exhibit B, at § 5.7.2. Where no

formal complaint had yet been filed, there were no "parties" to a student conduct proceeding, and

thus Roe had no obligation of confidentially. BC could not have prevented her from, or rebuked

her for, reporting the sexual assault to responsible university personnel, especially where she did

so to educate and prevent reoccurrence. The Sexual Misconduct Policy specifically states that a

victim may report incidents to non-confidential resources. Pl. Ex. A at 9.

               9.       BC did not breach its obligation to presume Doe was innocent.

       Doe's argument that BC breached its obligation to presume him innocent rests on nothing

but conclusory allegation that the investigators were biased against Doe. Pl. Mem at 17. As

explained above, Doe fails to offer the evidence required to support such a claim.

               10.      BC did not breach an obligation to do the investigation in 60 days.

       Doe argues that that the timespan of the investigation violated the university's 60-day

policy. Pl. Mem. at 17-18. The policy that states, "the University will endeavor to complete the



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investigation within 60 working days of the investigation's commencement" and that "this

timeframe may be extended to ensure the integrity and completeness of the investigation." P1

Ex. A at 12. Doe makes no allegation that BC did not actually endeavor to conduct the

investigation in a timely manner; rather, he just complains that it took too long. His allegations

ignore the numerous interviews that had to be conducted and the large amount of evidence that

was gathered. His argument also ignores the fact that it was in his interest for the investigation

to be as complete as possible, which required more time, and that during the investigation there

were several university holidays and exam periods.

         B.       Doe is Not Likely to Succeed on His Estoppel Claim.

         Doe's promissory estoppel claim is duplicative of his breach of contract claims and is

unlikely to succeed on the merits for the reasons stated above.2

         C.       Doe is Not Likely to Succeed on His Title IX Claim.

         Doe alleges that BC discriminated against him on the basis of his gender in violation of

Title IX, asserting the theory of "erroneous outcome." Pl. Mem. At 6-9. Doe is unlikely to

succeed on the merits of this claim.

         A student claiming an erroneous outcome in violation of Title IX must show that he was

innocent but wrongly found to have committed an offense and that gender was a motivating

factor in the erroneous finding. See Doe v. Colgate Univ., 760 F. App'x 22, 30 (2d Cir. 2019);

Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994); accord Doe v. Trs. of Bos. Coll., 892 F.3d

at 90. Doe can show neither. As explained above, there are no procedural irregularities that cast

any articulable doubt on the validity of the investigator's findings. See Doe v. Univ. of the



2 Moreover, where a written contract governs the same subject matter, recovery under a quasi-contract theory is not
available. Trent Partners & Assocs. Inc. v. Digital Equip. Corp., 120 F. Supp. 2d 84, 104-05 (D. Mass. 1999); see
also Brown Univ., 2016 WL 715794, at *15; Doe v. Brandeis Univ., No. 15-cv-11557-FDS, 2016 WL 1274533, at
*41 (D. Mass. Mar. 31, 2016).

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Sciences, No. CV 19-358, 2019 WL 3413821, at *5 (E.D. Pa. July 29, 2019) (rejecting similar

claims of procedural irregularities).

         Moreover, Doe also has failed to establish a causal connection between the allegedly

flawed outcome and gender bias. To be actionable under Title IX, allegations of bias must

pertain to the specific individuals involved in the disciplinary proceeding at issue. See Doe v. W

New England Univ., 228 F. Supp. 3d 154, 188-189 (D. Mass. 2017) (citing Mallory v. Ohio

Univ., 76 F. App'x 634, 640 (6th Cir. 2003)); see also Doe v. Case Western Reserve Univ., No.

1:17 CV 414, 2019 WL 1982266, *9, 11 (N.D. Ohio May 2, 2019); Doe v. Univ. of Denver,

2018 WL 1304530, at *11. But Doe has not alleged any statements, nor any other evidence,

which evidence any anti-male bias on the part of the investigators who made the findings. See

Yusuf, 35 F.3d at 715. While Doe has alleged that DOE and OCR policies pressured colleges

and universities to actively pursue allegations of sexual assault on campus, there is no allegation

— much less any evidence — that BC or its investigators were pressured to treat men differently or

find men responsible.3 The bare allegation that only males have been suspended or expelled for

sexual assault also does not show bias. Compl. ¶ 177. See Doe v. Trs. of Bos. Coll., 892 F.3d 67,

92 (1st Cir. 2018) ("The gender of the students accused of sexual assault is the result of what is

reported to the University, and not the other way around."); see also Austin v. Univ. of Oregon,

925 F.3d 1133, 1138 (9th Cir. 2019).

        Nor do Doe's conclusory characterizations of "pressure" (Compl. IN 26, 36) constitute

"adequate documentary evidence" upon which the court can rely to find evidence of a

discriminatory bias. Campbell Soup Co. v. Giles, 47 F.3d 467, 470-71 (1st Cir. 1995). Courts




3Doe's allegations about the Department of Education's "Dear Colleague" Letter ("DCL") do not support a claim of
gender bias. See Doe v. Trs. of Bos. Coll., 892 F.3d at 92. Nor does Doe explain how the Department's withdrawal
of the DCL could possibly create pressure on BC to find men guilty of sexual assault.

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repeatedly have rejected conclusory allegations of pressure when, as in this case, there is no

evidence that outside pressure actually influenced the school to aggressively pursue sexual

assault cases in a biased manner. See Ruff v. Bd. of Regents of Univ. of New Mexico, 272 F.

Supp. 3d 1289, 1302 (D.N.M. 2017); Doe v. Columbia Coll. Chicago, 299 F. Supp. 3d 939, 956

(N.D. Ill. 2017); see also Doe v. Univ. of Colorado, Boulder through Bd. of Regents of Univ. of

Colorado, 255 F. Supp. 3d 1064, 1078 (D. Colo. 2017).

       Nor does the allegation that BC adopted the investigator model policy to "demonstrate an

aggressive stance against sexual assault on campus, with the intent of making the reporting of

assaults more easily available" support a claim of bias. Pl. Mem. at 9-10. Complainants of

sexual assault can be male or female, and increasing enforcement of sexual misconduct rules

does not evidence anti-male bias. See Austin v. Univ. of Oregon, 205 F. Supp. 3d 1214, 1227 (D.

Or. 2016), affd, 925 F.3d 1133 (9th Cir. 2019); Z.J. v. Vanderbilt Univ., 355 F. Supp. 3d at 684;

Doe v. Univ. of Cincinnati, 173 F. Supp. 3d 586, 602 (S.D. Ohio 2016) (encouraging

complainants to come forward is a "laudable goal"). Moreover, the First Circuit has held that

use of the term "victim" in BC's disciplinary procedures does not support a claim of bias. Doe v.

Boston Coll., 892 F.3d at 92.

       D.      Doe is Not Likely to Succeed on His Negligence Claim.

       Under the First Circuit's Boston College decision, Doe's claim of negligence based on

BC's allegedly inadequate investigation is not likely to succeed on the merits. In fact, insofar as

the claim is based on the handling of his conduct proceeding, it is barred. Doe v. Trs. of Bos.

Coll., 892 F.3d at 94-95 (holding university owed no duty of care under tort law in context of

student disciplinary proceedings). Doe's attempt to couch his claims in negligent training and

supervision also fails. Compl. ¶ 281-282. An employer is liable for failure to exercise



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reasonable care in retaining and supervising an employee only when the employer knows or

should know of problems with the employee that indicate her unfitness for her position and the

employer fails to take action, thereby exposing third parties to an unreasonable risk of physical

harm. Foster v. The Loft, Inc., 26 Mass. App. Ct. 289, 289-91, 526 N.E.2d 1309, 1311 (1988);

see also Saldivar v. Racine, 818 F.3d 14, 21 (1st Cir. 2016); Vicarelli v. Bus. Intl, Inc., 973 F.

Supp. 241, 246 (D. Mass. 1997). Doe's claim fails because he has failed to allege any facts

showing that any particular BC employee was unfit and that BC was aware the employee was

unfit and failed to take action. Rather, Doe merely alleges that the investigators and appellate

officer made decisions that Doe disagrees with and that their decisions were contrary to the

College's procedures (they were not, as explained above). Compl. ¶ 282-286.

III.    DOE HAS NOT DEMONSTRATED A LIKELIHOOD OF IRREPARABLE
        HARM IF A PRELIMINARY INJUNCTION DOES NOT ISSUE.

        Even if Doe were capable of showing a likelihood of success on the merits, which he is

not, he has failed to establish that he will suffer irreparable harm in the absence of preliminary

injunctive relief. Irreparable harm is "a substantial injury that is not accurately measurable or

adequately compensable by money damages." Ross—Simons of Warwick v. Baccarat, Inc., 102

F.3d 12, 19 (1st Cir. 1996). "A finding of irreparable harm must be grounded on something

more than conjecture, surmise, or a party's unsubstantiated fears of what the future may have in

store." Charlesbank Equity Fund Il v. Blinds To Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004).

Moreover, "an attempt to show irreparable harm cannot be evaluated in a vacuum; the predicted

harm and the likelihood of success on the merits must be juxtaposed and weighed in tandem."

Ross-Simmons, 102 F.3d at 19. Doe has failed to meet his burden to show that, without

injunctive relief, he likely will suffer immediate irreparable substantial injury that is not

adequately compensable by money damages.

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       Doe's claims of "irreparable" harm fail because the contemplated harms all are

compensable with monetary damages. Doe claims that a final, adverse outcome in his

disciplinary case will cause him to suffer lost educational and career opportunities. Cases in

Massachusetts, ignored by Doe, establish that such harms are entirely compensable with money

damages. See Doe v. Amherst Coll., No. 14-CV-30114-MGM, 2014 WL 12597613, at *3 (D.

Mass. July 28, 2014) (denying preliminary injunctive relief to a student challenging a college's

disciplinary proceedings because anticipated emotional harm and missed educational or career

opportunities are compensable with money damages) (citing Powell v. City of Pittsfield, 221 F.

Supp. 2d 119 (D. Mass 2002)); see also Doe v. Williams College, 3:16-cv-30184-MGM, Dkt.

No. 65 & 74 at p. 51-55 (D. Mass. March 29, 2017) (denying preliminary injunction because

harm from expulsion from college is compensable with money damages); Phillips v. Marsh, 687

F.2d 620, 622 (2d Cir. 1982) ("no irreparable harm . .. would accrue to [student expelled from

military academy] in allowing her graduation to await the outcome of the trial on the merits; any

damages from deferring her career as a military officer in that period of time would surely be

compensable by monetary damages").

       Here, Doe will only suffer                   in graduating from BC; he will not lose the

opportunity to complete his College education, nor has he had to withdraw from any ongoing

classes as a result of his suspension. The               in the commencement of a career

caused by a delay in graduation is easily compensated with damages. See Schulman v. Franklin

& Marshall Coll., 371 Pa. Super. 345, 350, 538 A.2d 49, 52 (1988) (time lost from suspension

from college is compensable through money damages and is not irreparable harm); accord

Knoch v. Univ. of Pittsburgh, No. 2:16-CV-00970-CRE, 2016 WL 4570755, at *8 (W.D. Pa.

Aug. 31, 2016). Moreover, any claim of lost future career prospects caused by a gap in his



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academic record is "purely speculative." See Stockstill v. Quinnipiac Univ., No. 3:10-CV-265

(VLB), 2010 WL 2011152, at *5 (D. Conn. May 19, 2010) (missing a semester of classes is not

irreparable harm). Unlike in Phillip v. Nat'l Collegiate Athletic Ass 'n, 960 F. Supp. 552, 558 (D.

Conn 1997), and Doe v. Pennsylvania State Univ., 276 F. Supp. 3d 300, 314 (M.D. Pa. 2017), it

is not likely that Doe's graduation will be interrupted and delayed for a number of years, nor has

Doe alleged facts showing that BC's actions would deny him his right to a scholarship or

acceptance into a graduate school that these courts have recognized as irreparable harm.

       Doe's reliance on student discipline cases involving public institutions such as Doe v.

Baum, 903 F.3d 575, 582 (6th Cir. 2018), Doe v. Univ. of Michigan, 325 F. Supp. 3d 821, 829

(E.D. Mich 2018), and Doe v. Univ. of Michigan, 325 F. Supp. 3d 821, 829 (E.D. Mich. 2018),

where irreparable injury can be presumed, are misplaced. As a private institution, BC has not

deprived Doe of any constitutional rights.

       This case is easily distinguished from Doe v. Middlebury College, No. 1:15-cv-192-JMG,

2015 WL 5488109 (D. Vt. Sept. 16, 2015), on which Doe relies, which involved "a unique

situation." Dkt. No. 4-3 at p. 43. The college in that case attempted to re-investigate a case in

which the plaintiff already had been exonerated, notwithstanding that the college's policy did not

allow for a second investigation. 2015 WL 5488109 at *3. There is no clear policy violation in

this case. This case is also distinguishable because the plaintiff in Middlebury had obtained a job

offer after successful completion of an internship. Here, Doe had not obtained a specific job

offer, from any specific                r otherwise.

       Doe's reliance on Doe v. Univ. of Cincinnati, 223 F. Supp. 3d 704, 712 (S.D. Ohio 2016),

affd, 872 F.3d 393 (6th Cir. 2017), is also unavailing. The decision in that case stemmed from

the "unique" nature of plaintiff's graduate program, in which a one-year suspension would have



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affected plaintiff's ability to pursue a career.

        Doe's case is also distinguishable from Maczaczyj v. State of N.Y., 956 F. Supp. 403, 408

(W.D.N.Y. 1997). In that case, the plaintiff, a disabled student seeking accommodations under

the ADA, was suffering from mental illness and the impact of his exclusion from the master's

program had a significant negative impact on his progress at overcoming his illness; the

likelihood that he would suffer additional psychic harm was the deciding fact in that case.

       Nor is Doe's claim supported by his citation to Doe v. Univ. of Notre Dame, No.

3:17CV298-PPS/MGG, 2017 WL 1836939, at *10 (N.D. Ind. May 8, 2017), which rests on

entirely different facts and subsequently was vacated, Doe v. Univ. of Notre Dame, 2017 WL

7661416 (N.D. Ind. Dec. 27, 2017). The Court in that case initially granted a preliminary

injunction, based in part upon the conclusion that the university's investigation may have been

"arbitrary and capricious" in failing to obtain and review relevant text messages that the female

accuser selectively had omitted. 2017 WL 1836939, at *3. In this case, plaintiff does not allege

that the investigator failed to interview any witnesses or obtain any evidence that was not already

available. The essence of Doe's complaint is not that BC failed to follow its policies, but merely

that the Investigators failed to view the evidence in the way he would have liked.

       Here, if Doe is successful at overturning the disciplinary decision, there is no evidence

that a gap year in his education will cause him harm in the form of stigma or inability to pursue a

career. There is no evidence that employers will demand to see academic transcripts or be able

to tell from a resume that Doe was suspended for a period of time. Nor is there any evidence that

a person whose disciplinary finding is vacated will suffer stigma from having to explain that he

was suspended but later vindicated.

       Doe also argues that he will suffer irreparable harm from the loss of



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as a                  Loss of

             , do not warrant the extraordinary remedy of a preliminary injunction.




                                                                          In any event, even from the

facts alleged by Doe, it is entirely speculative that he will be unable to continue to resume

                after           his suspension and not be in a position               . Doe's self-

serving affidavit about his likelihood of                                     , is entirely

speculative and unsupported.

IV.    THE BALANCE OF HARMS AND THE PUBLIC INTEREST WEIGH AGAINST
       INJUNCTIVE RELIEF.

       BC has a strong interest in enforcing its student conduct policies, including its prohibition

against sexual misconduct. Courts should not discount the harm resulting from an injunction that

undermines a college's authority to address such misconduct. See Boucher v. Sch. Bd. of Sch.

Dist. of Greenfield, 134 F.3d 821, 827 (7th Cir. 1998) (vacating preliminary injunction where

allowing a student to remain enrolled undermined the school's authority to take disciplinary

action). Moreover, preventing BC from maintaining a hostile-free environment for its students,

including Roe, who remains enrolled at BC, is a significant public interest that weighs in favor or

denying the injunction. Doe v. The Ohio State Univ., 136 F. Supp. 3d 854, 871 (S.D. Ohio 2016)

(citing Bonnell v. Lorenzo, 241 F.3d 800, 822 (6th Cir. 2001)). Contrary to the purposes of Title


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IX, allowing students found responsible for sexual assault to remain on campus and fully

participate                                          sends a message to would-be complainants

that their complaints will be snubbed, that their efforts to seek remedies for harassment and

discrimination will be in vain, and that the importance of                  will outweigh the

rights of victims. Doe has been found responsible by two investigators trained and experienced

under the College's procedures, and Doe's appeal was considered and denied. It is well-settled

that Courts should not lightly interfere with such judgments. See Davis v. Monroe Cty. Bd. of

Educ., 526 U.S. 629, 648 (1999) ("courts should refrain from second-guessing the disciplinary

decisions made by school administrators"); Havlik, 509 F.3d at 35 (courts must accord a school

some measure of deference in matters of discipline); Morale, 422 F. Supp. at 1004-1005

("federal courts do not sit in judgment of the wisdom of school administrators, students or even

attorneys."). The balance of equities and the public interest thus favor preserving the status quo,

rather than granting the extraordinary remedy of mandatory injunctive relief.

                                           CONCLUSION

        The Court should deny Doe's motion for a temporary restraining order and preliminary
injunction.

                                              TRUSTEES OF B STON COLLEGE,


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                                                   Eli        th H. Kelly




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